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EXHIBIT A
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        ,_                                     Connecticut Department of Correction                                     REV 10/01/19


Facility/Unit: MWCI                                                                            Report date: 2-25-2020

Inmate name: Delgado, Raul                                                                     Inmate number: 318310

Housing unit:                                     Location of incident: RHU Interview Room

Report number: , , L.--,(_:_r       -    :,P--;   Incident date: 2-24-2020               Incident time: 9:45            am    I   I pm
                                                                                              1
Offense: Threats                                                                                Offense class:   E A il B El C
Description of violation:
On Monday February 24, 2020 at 9:45am, I (Lieutenant Concepcion) was conducting an interview with inmate
Delgado, Raul #318310. During the interview, inmate Delgado began making serious threats towards the safety
and well-being of Officer Cruz. Inmate Delgado stated to this writer, "As soon as I get out of here (RHU) I'm
going to fuck that mother fucker up, I promise on my daughter's life, he will get dealt with, he (Officer Cruz) put
me in here for no reason, so I promise you he's going to get hurt when I get out of here!" This direct threat on an
Officer's safety is a direct violation of A.D. 9.5, as a result a Class A "Threats" ticket is issued.




Witness(es):



Physical evidence:



Reporting employee (print): Concepcion                                                              Title: Lieutenant
                                                   /Th
Reporting employee (signature):                   i,

Date: 2-25-2020                         Time: Tyk                 am         I 1pm       Employee requests copy:    ❑ yes     /1 no
                                         CUSTODY SUPERVISOR / UNIT MANAGER REVIEW
1 1 Administrative Detention                              Date:                                 Time:               E am          pm

I I Accused inmate interviewed                                 Informal disposition

Custody Supervisor / Unit Manager name (print):                    :-3   4-1/:   ,.--.
Custody Supervisor / Unit Manager signature:                      ,
             %_c.;
Title:           /ate..                                                                         Time:                   amfl pm

                                                            INMATE NOTICE
                         ,,p-
                                                                                                  4k.
                  /
Delivered by (print):,.e                   ,                             Delivered by (signatureik*

Title:      /7                                            Date: '741-.5 rif'O                   Time: 7v /0             am    I 1 pm
            ®        Check if inmate receiving disciplinary report is placed on a Behavioral or Mental Health Observation Status.
            ®        If applicable, delivering officer must read the Disciplinary Report to the inmate and leave the copy at the
                     Officers Station.
            ®        Once a qualified mental health provider deems that the inmate can retain paper, the Disciplinary Report shall
                     be issued to the inmate in accordance with this directive.
            a        Note: Timeframes associated with the disciplinary report process for inmates initially placed on Behavioral or
                     Mental Health Status shall not be altered and will continue as outlined in this directive.
                    Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 14 of 25

                                                Disciplinary Report                                                     CN 9503/2
                                       Connecticut Department of Correction                                           REV 10/01/19

Investigator:    /./,,                                   Receipt date: 2 /ecizc)            Time:             - dam n pm
Attempt, accessory and conspiracy: When supported by the evidence, the offenses of attempt, accessory and conspiracy shall
    be deemed to be included in the substantive offense without having to be separately charged. Attempt, accessory and
              conspiracy shall be punishable in the same degree as if the substantive offense were committed.

                                                    CLASS A OFFENSES
    Alteration of a specimen
                                                                                          Public Indecency
    Arson                                    Escape
                                                                                          Refusal or Removal Of an Institutional
    Assault                                  Escape from PCS Supervision
                                                                                                    Program or Policy
    Assault on a DOC employee                Falsely Reporting an incident
                                                                                          Refusal to give a specimen
    Bribery                                  Felonious misconduct
                                                                                          Refusing Housing
    Contraband (dangerous instrument,        Fighting
                                                                                          Riot (declaration by DOC Commissioner)
         escape item, unauthorized           Flagrant disobedience
                                                                                          Secreting identity
         currency, drug and/or tobacco,      Hostage holding
                                                                                          Security Risk Group Affiliation
         drug and/or tobacco                 Hostage holding of a DOC employee
                                                                                          Security tampering
         paraphernalia, intoxicating         Impeding order
                                                                                          Self-mutilation
         substance, tattoo equipment,        Interfering with safety or security
                                                                                          Sexual misconduct
         wireless communication device or    Intoxication
                                                                                          Theft ($100 or more)
         component)                          Possession of Sexually Explicit Materials
                                                                                          Threats
    Creating a disturbance
                                                                                          Violation of Program Provisions
    Destruction of property ($100 or more)
                                                    CLASS B OFFENSES
Bartering                                      Destruction of property (under $100)       Insulting language or behavior
Causing a disruption                           Disobeying a direct order                  Misdemeanant misconduct
Contraband (unauthorized items, items in       Gambling                                   Out of place
   excess of authorized amounts.               Giving false information                   Theft (under $100)

                                                    CLASS C OFFENSES
      Disorderly conduct                     Lingering                 Sanitary/housing violation           Violation of unit rules

                                            Waiver of 24-hour Notice
     I hereby waive my right to a 24-hour notice of hearing, and request that a hearing be held at the earliest
                                       convenience of the hearing officer.
Inmate signature:                                                                                   Date:
Witness signature:                                                                                  Date:
                                            Waiver of Appearance
         I hereby waive my appearance at the disciplinary hearing. This does not constitute a guilty plea.
Inmate signature:                                                                                   Date:

Witness signature:                                                                                  Date:
                                                    Guilty Plea
      I hereby plead guilty to the charge contained in this disciplinary report. i voluntarily enter this plea and
                                      understand that my plea bars an appeal.
Inmate signature:                                                                                   Date:

Investigator/hearing officer signature:                                                             Date:

                                                    Deferral of prosecution

     Prosecution deferred by Disciplinary Coordinator                                     Through date:

Disciplinary Coordinator signature:                                                                 Date:

Inmate signature:                                                                                   Date:
                   Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 15 of 25

                                 Disciplinary Process Su:miry Rep rt                                                                                                                             CN 9504/1
                                                    Connecticut Department of Correction                                                                                                        Rev 10/01/19



Facility/Unit:     MACDOUGALL C. I.                                                                                                    Housing unit:              H2-91 / S-11 .

Report date 1 02/24/2020                                      Report number: MWC12003083                                               Hearing date:               3 •,-,               .        -,;.

Inmate name: DELGADO, RAUL                                                                                                             Inmate number: 318310

Reporting employee:            LT. CONCEPCION                                                                                          DHO:        ,,.--_v      • ,,,,,i
                                                                                                                                                                                                   _•...2        .
Investigator: GONZALEZ / MATTHEWS                                                                                                      Advisor:         G-T0--SEAL-Y-                  eio iteciziwia
Inmate appearance:                       yes                  I I no                    Reason:

I I Suspended sentence

I I   Deferred prosecution               Number of days                                                                                Through:

I I Charge dismissed                     By:                                                                                           Reason:
Continuances (dates a d reasons):,--:                                                                                   /     _   -
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                                   SUMMARY
                               Charge/class                                                       Plea                 Finding
                                                                                             ;•-1-=•-\--                                  Forfeiture of Risk Reduction Earned
Original         THREATS / A
                                                                                             r.,.,-,\.--,-,..{,.            :i ',A                       Credits:

Substitute                                                                                                                                -10                        -15                               - 25

I I Confidential information                    Reliability:                                                                           I I- 60                                 I I-
Documentation submitted:                 1 i Incident report                                              I 1 Medical incident report

                                        I I Use of force report                                          I I Other (specify)
Witness name:              .         -,     :-,,,,,
                                            F, --i-,-- \   n•••ik\                                          _$                                  appearance                 F I yes                          no
Testimony:
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Witness name:              _)2.__-,',6               -..\`:)
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Testimony:
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Witness name:         c_...,•,, ,,,,,                 '1/4.__,,   _.,             sl.         :4 T..s. .,,i .7 4, .2)                           appearance                 I       I   yes         I    I no
Testimony:



I I Witness exclusion                Name:                v....„.... ..                                   — ,                     :3Ts -, j f 'Reason:
                                                                                         -                              . \
Physical evidence, written testimony:
                                                   Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 16 of 25


                                                                              Disciplinary Process Summary Report                                                                                                                                                                  CN1 9504/2
                                                                                              Connecticut Department of Correction                                                                                                                                                Rev 10/01/19



  Basis for finding:                                        - ,r,,„-N-,
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  Basis for sanctions:




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                                                                                                                            DISPOSING OFFICER
                                                                                                                            \
  Hearing officer signature:                                                                                                \   ,                                                                                             Date--2-/-1-9/20- 3 t , \ 1, ,
                                                                                              ..-                                ,...----                                                                                                       -1•       —

  Disciplinary coordinator signature:                                                                                                                                                                                         Date:

  Investigator signature:                                                                                                                                                                                                     Date:

                                                                                                                                       INMATE NOTICE
                                                                   You may appeal a finding of guilty by a hearing officer within 15 days.

  Delivering officer signature:                                                                                 `',/r j. ,
                                                                                                           i 'Ili               4.'
                                                                                                                                                                                                                              Date :
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                        .'-) /
                                                                                                                                                                                                                                                               I.,



    Copies (5): investigator, reporting employee, inmate, disciplinary file and inmate master file
                     1        Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 17 of 25
                                                                                                                                    •CN 960 2
                                         Bn - 'ate Administrative emedy Form
           .
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             ...    yr                                                                                                            REV 9/20/17
       -14%,ozrazkv                                 Connecticut Department of Correction



   Facility/Unit:                                                                               Date: ''.6 -IS- dze_ 0
                               (50. OA
   Inmate name A ft j                     ,_0_1        \                                        Inmate number:           i r 31v
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               ION       SELEMIKELATIVE EIVIt6A'o' BEIOWp ' .- ,k.A. ,,. ,ii.c:fiel*' ,, ,,,,,e.. ,''' -,.*..,:A-''
                                                                                                               :    'c'dt               tY'':-"    :-.
                                                                                                                                          N..,kz--p-,...:
                                    -Follow the instructions and Refer to Section 2 below                                               .
     (for property claims, complete form CN 9609, Lost/Damaged Property Investigation Porn-) and deposit ii-) the Administrative Remedies' box
                      InnMliM 60 ezT . '',' --'-A` ,,7t 4.4P1#4*. .. i*:r- r,!'',-,: -.'Y.- . TA-10WegitiV0-41
                                                                                                  .                            -V*iier ''''%;
                         .0
                          Poor to filing a. grievance, you must attempt informal resolution,
  I, .-4                  Attach a copy. Of CN 9601, Inmate Request Form with the staff member's response OR state in Section 4 the
                         e
                          reason why the form is not attached.
                     e Grievances must be filed within 30 da s of the occurrence or discove of the cause of the grievance.
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                              Other Health   Care Issues                 L   Diagnosis/Treatment            auFit.      Q S_..  t0. --0 (,Y- -4,
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                 X Disciplinary Action -                                                            >         0
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                 ❑ Special Management Decision                        0 Classification Decision                                             •
      4          ❑ Media Review Committee Decision -                  ❑ Furlough Decision
                 0 Security Risk Group Designation -                  ❑ ADA Decision                                (:),Or.q0:AZfiEi,.4fiAi;
                                                                         Re'ection of OutsideTa.es/CDs
           „ rjDeterrnination of Grievance Process Abuse.             0 Rejection of Correspondence         >                                        .;.:
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       •       Only one request for an administrative remedy must be submitted on this form.
               The requeSt for an administrative remedy and the action sought should be. stated simply and coherently.
     .•        The length of this request for an administrative remedy shall be restricted to the space available in Section 4 and one
               (1) additional 8 1/2x 11 inch page.
    .6         This request for an administrative remedy must be free of obscene or vulgar language or content.
               This request for an administrative remedy must be filed by the inmate who is personally affected by the subject of ft-)
               request and shall not be filed by an inmate on behalf of another.
      •        A repetitive request for administrative remedy may not be filed by the same inmate when a final responsehas been
               provided and there has been no change in any circumstances that would affect the response; or when the initial request
               for an administrative remedy is still in process.


      •   You may file a Disciplinary Appeal ONLY if you have pleaded not guilty and have been found guilty.at a disciplinary:
          hearing.                                                                                              •    "
      • If so com tete this section then complete Section 4 (State the Problem) on the reverse side. >>>
Offense: n               vi LA)                         e                                 Report date:       _a 3__a04.0
                                                      S
Facility where hearing was conducted:                                                     Date of hearing: 1-li 2 0.2_0
Did you have an advisor'?•                   yes      no      If yes, name of advisor:
Did you identify witness (es) to the investigator'? fie yes      no     E          Did your witness (es) testify?            g yes no
Narne(s) of any witness(es). Qoh-v ?Kt.) yep, 13 cc-404
                                                          4 - (g@7 cf
                                                           /4.14c,     ` 2 31'Y7-1
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                                                                                                                     Inmate name:
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                              Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20     ct (-A18
                                                                                Page      ° of 25
                                                                                                                     Inmate number: '31%-- 3(                                                   Housing:
                          (FOR OFFICIAL USE ONLY)


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                G          Provide any factual information that is applicable, including any responses from staff.
               @           State the action that you think should be taken to resolve the problem.
               ®           PLEASE PRINT.
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  Date Received:                                                                                       IGP #:                                                                       T#:


 DiSposition.                                                                                                                                Date of Disposition:

 Reason:




      I You have exhausted DOC's Administrative Remedies.                                                                              I I      I This matter may be appealed to:

                                                                                                                                                                                                     Date:
Signature:
                    Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 19 of 25
                                               Mscipllinary Report                                                         CN 9503/1
                                        Connecticut Depart;ent of Correction                                               REV 10/01/19


 Facility/Unit: MacDougall/walker                                                           Report date:2/23/20

 Inmate name: Delgado,Raul                                                                  Inmate number:318310

 Housing unit:H-91                          Location of incident: H-2 Dayroom bottom tier

 Report number: „,...f ,      ,     ,    , Incident date:2/23/20                    Incident time:4:31pm               ❑ am      i1 pm

 Offense: Interfering with safety and security                                              Offense class:             A    riB 1     C
 Description of violation: On 2/23/20 at approximately 4:31 pm this officer was on post as H-2 rover. This officer
 gave inmate Delgado ,Raul #318310 of cell H-91 clear verbal direction to show this officer what he was
 concealing in his hand. Inmate Delgado refuse to show this officer the object in his hand, inmate Delgado place
 object in his pocket still refusing to show the object. Inmate Delgado then pulled out of his pocket 4 packs of
 sugar but still refuse to show what else he was concealing in his left side pocket of his state issued pants. A
 supervisor was notified via hand held radio. Inmate Delgado's actions are a Class A offence for Interfering with
 safety and security of the unit. FOR




Witness(es):



Physical evidence:



Reporting employee (print):C/O Cruz ( )                                                         Title: Corrections Officer

Reporting employee (signature :                                    )

Date:2/23/20                      Time:6:15pm           E. am      1 . •          Employee requests copy:              :1 yes
                                                                                                                       ►        E no

                                   CUSTODY SUPERVISOR / UNIT MANAGER REVIEW
E Administrative Detention                          Date:        1\
                                                                 •1
                                                                          -
                                                                           , I              Time:   ..,1,, ,2.,,,c.,
                                                                                                         , ;_.:
                                                                                                                       E am     ❑ pm
                                                                   .-
E Accused inmate interviewed                        E    Informal disposition

Custody Supervisor / Unit Manager name (pr nt):                            .,
                                                                                .,. ,   k

                                                                                   .

Custody Supervisor / Unit Manager signature:                .„
                                                                  .,./.       //..----
                                                                           "..„..,--                                            1-1
Title:          \                                   Date: --                                Time:                      ❑ am     L:j pm

                                                      INMATE NOTICE
Delivered by (print): /6„z.,                                     Delivered by (signature): ,W__,,-__
                                                                                                   2,..,-

Title:   eoyeez,1k,„ 4,14,,,                        Date: a-y, - 20                         Time: 7_•v©                ❑ am     E pm
          0   Check if inmate receiving disciplinary report is placed on a Behavioral or Mental Health Observation Status.
          0   If applicable, delivering officer must read the Disciplinary Report to the inmate and leave the copy at the
              Officers Station.
n         e   Once a qualified mental health provider deems that the inmate can retain paper, the Disciplinary Report shall
              be issued to the inmate in accordance with this directive.                                                   _
          0   Note: Timeframes associated with the disciplinary report process for inmates initially placed on Behavioral or
              Mental Health Status shall not be altered and will continue as outlined in this directive.
                Case 3:20-cv-00787-SRUDisdpfln,
                                       Document 1 Filed 06/05/20 Page 20 of 25
                                                     .aport
                                        Connecticut l -epar. Jnt of Correction                                          RE

Investigator:                                            Receipt date: %_ 'z.         -0     Time:                  E ar          pm
Attempt, accessory and conspiracy: When supported by the evidence, the offenses of attempt, accessory and conspiracy shall
    be deemed to be included in the substantive offense without having to be separately charged. Attempt, accessory and
              conspiracy shall be punishable in the same degree as if the substantive offense were committed.

                                                    CLASS A OFFENSES
    Alteration of a specimen
                                                                                           Public Indecency
    Arson                                    Escape
                                                                                           Refusal or Removal Of an Institutional
    Assault                                  Escape from PCS Supervision
                                                                                                     Program or Policy
    Assault on a DOC employee                Falsely Reporting an Incident
                                                                                           Refusal to give a specimen
    Bribery                                  Felonious misconduct
                                                                                           Refusing Housing
    Contraband (dangerous instrument,        Fighting
                                                                                           Riot (declaration by DOC Commissioner)
         escape item, unauthorized           Flagrant disobedience
                                                                                           Secreting identity
         currency, drug and/or tobacco,      Hostage holding
                                                                                           Security Risk Group Affiliation
         drug and/or tobacco                 Hostage holding of a DOC employee
                                                                                           Security tampering
         paraphernalia, intoxicating         Impeding order
                                                                                           Self-mutilation
         substance, tattoo equipment,        Interfering with safety or security
                                                                                           Sexual misconduct
         wireless communication device or    Intoxication
                                                                                           Theft ($100 or more)
         component)                          Possession of Sexually Explicit Materials
                                                                                           Threats
    Creating a disturbance
                                                                                           Violation of Program Provisions
    Destruction of property ($100 or more)
                                                    CLASS OFFE SES
Bartering                                      Destruction of property (under $100)        Insulting language or behavior
Causing a disruption                           Disobeying a direct order                   Misdemeanant misconduct
Contraband (unauthorized items, items in       Gambling                                    Out of place
   excess of authorized amounts.               Giving false information                    Theft (under $100)

                                                    CLASS C OFFENSES
      Disorderly conduct                     Lingering                Sanitary/housing violation             Violation of unit rules

                                             Waiver of 24-hour Notice
     I hereby waive my right to a 24-hour notice of hearing, and request that a hearing be held at the earliest
                                       convenience of the hearing officer.
Inmate signature:                                                                                    Date:
Witness signature:                                                                                   Date:
                                                     Waiver of Appearance
         I hereby waive my appearance at the disciplinary hearing. This does not constitute a guilty plea.
Inmate signature:                                                                                    Date:

Witness signature:                                                                                   Date:
                                                            Guilty Plea
      I hereby plead guilty to the charge contained in this disciplinary report. I voluntarily enter this plea and
                                      understand that my plea bars an appeal.
Inmate signature:                                                                                    Date:

Investigator/hearing officer signature:                                                              Date:

                                                   Deferral of prosecution

n    Prosecution deferred by Disciplinary Coordinator                                      Through date:

Disciplinary Coordinator signature:                                                                  Date:

Inmate signature:                                                                                    Date:
                    Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 21 of 25

     i-) - I
           -
                              ,...
                                     estrictiv- H. using Unit Status -Id                                  CN 9401/1
                                        Connecticut Department of Correction                             REV 6/16/16

 Facility/Unit:     MacDougall-Walker C.I. (MacDougall)
Inmate name:        DELGADO,RAUL                                                  Inmate number:   318310
                                                 SECTION 1 - STATUS
                                                                         ._
                  Placement in Restrictive Housing Unit (check and date the appropriate description).
         Transfer Detention                                                            Date:
 V       Administrative Detention                                                      Date:   2/23/20

         Punitive Segregation                                                          Date:
         Administrative Segregation                                                    Date:
     '   Administrative Segregation Transition                                         Date:
         Special Needs Management                                                      Date:

 .       Chronic Discipline                                                            Date:
         Special Circumstances Status                                                  Date:
                                       SECTION 2 - REASON FOR PLACEMENT
The inmate's/my continued presence in the general population poses a serious threat to life, property, self, other
inmates, and/or the security of the facility because:

!nmate DELGADO,RAUL #318310 is being placed on Administrative Detention for a Class A Disciplinary
"Interfering with safety and security"




Supervisor signature:                                                                  Date:   Z12.3 (24

Inmate given copy of this form:        Time: 7 ',0 a            I   I   am   2<   pm   Date: Z /2-3/20
                      Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 22 of 25

                                 Disciplina r v Proc ss Summary 'R.eport                            4111
                                                                                                                                                                                                          CN 9504/1
                                                     Con ecticut                          • epartment f C rrection                                                                                       Rev 10/01/19



    Facility/Unit:    MACDOUGALL C. I.                                                                                                            Housing unit:               H2-91 / S-11

    Report date : 02/23/2020                               Report number: MWC12001072                                                             Hearing date: 3                   :, , \ ---..? o   --,2_,-,
    Inmate name: DELGADO, RAUL                                                                                                                    Inmate number: 318310

    Reporting employee: C/O CRUZ .                                                                                                                DHO:          L7.-,---. ---:--)„,.,,i ..,,

    Investigator: GONZALEZ / MATTHEWS                                                                                                             Advisor:          CTO SCALY (7O 7,2e- (                                     t :.-
                                                                                                                                                                                                                         (
    Inmate appearance:           1 yes                          I no                     Reason:

          Suspended sentence

    I 1   Deferred prosecution       Number of days                                                                                               Through:

    n     Charge dismissed           By:                                                                                                          Reason:
    Continuances (dat s and reasons):                                                                      .                                          SANCTIONS:
    _14    20 ---,--             " -) /://7 4.L,--
                  ‘' ,-3 i 712621.,             ,/                                        .        ' 4-11,4-co-7, z--)




                                 SUMMARY
                            Charge/class                                                       Plea                   Finding
                     INTERFERING WITH SAFETY                                                  s.i o77                     1 0 -'\--
                                                                                                                        1`,                            Forfeiture of Risk Reduction Earned
Original                                                                                      G.           ,_.          ..,,,\ ..---\        ,
                     OR SECURITY / A                                                                                                                                 Credits:
Substitute                                                                                                                                        1-10                            -15                     _ - 25

I         Confidential information             Reliability:                                                                                       I    I - 60                                  FI -
Documentation submitted:                             Incident report                                               Medical incident report
                                                     Use of force report                                     I Other (specify)
Witness name:           -7-.),61,,....,,                            ,‘:,._.,...-k-C'                             2- k., '-'1   ---/   -1 ',..;'             appearance                           yes                     no
                               :._--
Testimony:


Witness name:           ----     , (0 ,-..                               :',,-.6,, \ -.:-::::,-,                      --3 s- 0 9 3--.,,-:-                  appearance                            yes            I   1   no
Testimony:                                                                                   i
                               '---.--               ,--.._.J...;          ,--*--;, ':   0,, \
                                                                                                                                                                                        _
Witness name:                            c.,,--,-,                  i i- ,,,- 2 \             '''''''
                                                                                                                                                            appearance                           yes                     no
                                                                                                                          ‘•-:\ S2
Testimony:



          Witness exclusion      Name:                                                                                                                    Reason:
Physical evidence, written testimony:
                                  Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 23 of 25

                                                                    Discipnna:y Process Summary R                                                                                                                                         rt
                                                                                         Connecticut Department of Correctio                                                                                                                                                               Rev 10/01/19
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Basis for finding: 72,--,:,,,,,k7,_•"::..:\f:3„,_,:,                                                                            c:2-..,,,\                             2 \ r. -,
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Basis for sanctions:




                                                                                                                          DISPOSING OFFICER

Hearing officer signature:                                                            „........-                                                                                                                                   Date: 241-9/20                              , :                    \ --?,., e c

Disciplinary coordinator signature:                                                                                                                                                                                                Date:

Investigator signature:                                                                                                                                                                                                            Date:

                                                                                                                                INMATE NOTICE
                                                             You may appeal a finding of guilty by a hearing officer within 15 days.
                                                                                                                                                                                                                                                                   ,...
Delivering officer signature:                                                                                                                                                                                                      Date:                      V)/ 1/1
                                                                                                                                                                                                                                                             ,,„  4--,' 7z_ /Jo
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                                                                                                                      r.)


Copies (5): investigator, reporting employee, inmate, disciplinary file and inmate master file
                   Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 24 of 25
                                                                                                                       CN 9602
                               Inmate Administrative Remy dy For                                                     REV 9/20/17
                                       Connecticut Department of Correction



Facility/Unit: •                                                                      Date:•    a-
           .. XI CAC c)(__Ce-CY
                            c) \.
Inmate name: \\ .        k                 `                                          Inmate number: 3 -       ...81?)
                  N•Akui•      -)e.....\,0/ Ci-o
$EC.TION1:SELECTADMINISTRATIVE:REMEDY A; B or C:BELOW
                                         Follow the instructions and Refer to Section 2 below
    property claims complete. form CN 9609 Lost/Damaged Property Investigation Form and deposit in the 'Administrative Remedies' box).
           trri, filing,:agrioahc*:::
              ® Prior to filing a grievance, you must attempt informal resolution.
              • Attach a copy of CN 9601, Inmate Request Form with the staff member's response OR state in Section 4 the
                     reason why the form is not attached.
              • Grievances must be filed within 30 days of the occurrence or discovery of the cause of the grievance.
        I :Mil reqUe§tiiiigailealti: leriiie:66;ReVieW:
                                       ,
                 ❑ All Other Health Care Issues                    ❑ Diagnosis/Treatment                   Ccitilpi 644BectiOril 4
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         t51 Disciplinary Action                                                                    >cs•;?0.010ws.0.000.0:14.0lipw.:
         ❑ Special Management Decision                        ❑ Classification Decision             >
             Media Review Committee Decision                  ❑ Furlough Decision                   >
         ❑ Security Risk Group Designation                    ❑ ADA Decision                        >      Complete Section 4
          ❑ Determination of Grievance Process Abuse        ❑ Rejection of Outside Tapes/CDs
                                                            ❑ Rejection of Correspondence
            :
3ECTICN 2 OTHER ii,,*!;71
                             :0E-I9IF:41•FPF4:.:'UsING:T171INMATE',401VIINIaTRATIVg00VIEPPROCPUR.,
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    •  Only one request for an administrative remedy must be submitted on this form.
    •  The request for an administrative remedy and the action sought should be stated simply and coherently.
    •  The length of this request for an administrative remedy shall be restricted to the space available in Section 4 and one
       (1) additional 8 1/2 x 11 inch page.
    • This request for an administrative remedy must be free of obscene or vulgar language or content.
    • This request for an administrative remedy must be filed by the inmate who is personally affected by the subject of the
       request and shall not be filed by an inmate on behalf of another.
    0  A repetitive request for administrative remedy may not be filed by the same inmate when a final response has been
       provided and there has been no change in any circumstances that would affect the response; or when the initial request
       for an administrative remedy is still in process.
5cTio14:11DISCIPLINARY .-.:   ,Sti:47110N4COttipletithi*eCtiOriftir'a::DiSCipliiia0kA00001'ONLY:4,,
    •    You may file a Disciplinary Appeal ONLY if you have pleaded not guilty and have been found guilty at a disciplinary
         hearing.
    o If so, complete this section; then compete Section 4 (State the P: oblern) on the everse side. >>>
Offense:      rec. ..1 r....e‘                                                            Report date:      3 - c*-20 .0
Facility where hearing was conducted:     ,--)cfy 00036,J1         al                          Date of hearing: 3_11 -10? 0
Did you have an advisor?         ❑ yes ❑ no          If yes, name of advisor:
Did you identify witness (es) to the investigator? Na yes ❑ no             Did your witness (es) testify?           [' yes ❑ no
Name(s) of any witness(es): C. 40A Oh Atnit 44- c/r9 I tdcf3
                                c34esuLl clovia 44- JACO/Z-0
                                0 oAkco Lkti i 1k LW/ 1.1S-
                         Case 3:20-cv-00787-SRU Document 1 Filed 06/05/20 Page 25 of 25

                                                                                         Inmate name:
CONFIDENTIAL                                                                                                                                   -P,._\     •         '')
              (FOR OFFICIAL USE ONLY)                                                    Inmate number: 31 kc.. 11 0                                                  Housing: ,A... _ ii 0


SECTION 4:STATE THE PROBLEM AND REQUESTED RESOLUTION
     e        Provide any factual information that is applicable, including any responses from staff.
     e        State the action that you think should be taken to resolve the problem.
     a        PLEASE PRINT.
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      \ft,_    @VA e 0 fht                  3.i.     0.l tM k

I nmate signature:                                                                                                                            Date:
                                                                                             -3 — / i- -24 —0
            For all remedies eqpi:,t, hea th servi s; deposit this forrh.in the:Administrative Remedies box.
          . Fora :health Servi6ei'issue; oeposilthiifoiniin:the'ILlealifi,§4kftdei-li6X.
SECTION '5:;PPCI§1PNI.OFFICIAL USE. ONLY ..,DONIDT WITEN TFK.$PAc,::BEL,OW

Date Received:                                                             IGP #:                                                                       T#:

Disposition:                                                                                                Date of Disposition:
                                                                                                             _____ _
Reason:




    You have exhausted DOC's Administrative Remedies.                                                       I      I This matter may be appealed to:
Signature:                                                                                                                                                                   Date:
